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            IN THE CHANCERY COURT OF SHELBY COUNTY, TENNESSEE
               FOR THE THIRTIETH JUDICIAL DISTRICT AT MEMPHIS


 JOHN MICHAEL LEBLANC

        Plaintiff.

 VS.                                                            Docket No. CH-12-1810-1

BANK OF AMERICA, N.A. and
BAC HOME LOANS SERVICING, LP
Ika COUNTRYWIDE HOME LOANS
SERVICING, LP CORP.,
RUBIN LUBLIN TN, PLLC


        Defendants.


        ORDER CONTINUING INJUNCTIVE RELIEF UNTIL JANUARY10, 2012


        A Temporary Restraining Order was granted in this matter on November 26, 2012

prohibiting the Defendants from proceeding with a foreclosure sale on the property located at

3786 Old Brownsville Road, Memphis, Tennessee until a hearing could be held on Plaintiffs’

application for a Temporary Injunction. That hearing is set for December 11, 2012.

        Defendant Bank of America is not available for the hearing on December 11, 2012. The

parties have agreed that the restraining order prohibiting the Defendants from proceeding with

the foreclosure sale of the property 3786 Old Brownsville Road, Memphis, Tennessee should

remain in effect until the hearing is held on injunctive relief on January 10, 2012.

        IT IS SO ORDERED


                                                Chancellor Walter Evans
                     OPY4\TTEST
                          (rk                   Date:
                                                                                       ;-




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 APPROVED FOR ENTRY:

              /




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